         Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 1 of 22



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  Ten Sleep, WY
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  Email: dennischarney@gmail.com

  Attorney for Defendant Community Connections Incorporated


                                UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO



   DORINDA J. THOMPSON, on behalf of
   herself and all others similarly situated,            Case No.

                                         Plaintiff,
                                                         NOTICE OF REMOVAL OF ACTION
   v.                                                    TO FEDERAL COURT

   COMMUNITY CONNECTIONS
   INCORPORATED, an Idaho Corporation,

                                       Defendant.




             I. PRELIMINARY STATEMENT AND CAUSE FOR REMOVAL

        Without submitting to the jurisdiction of this Court and without waiving any available

defenses, Defendant Community Connections Incorporated (“CCI”) hereby removes this action

from the First Judicial District Court of Kootenai County, Idaho to the United States District Court

for the District of Idaho because a federal question necessitates such a removal. In support of this

Notice of Removal, CCI states as follows:




NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT—1
         Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 2 of 22



                                      II. INTRODUCTION

       1.      Plaintiffs filed a Class Action Complaint (“Complaint”) in the First Judicial District

Court of Kootenai County, Idaho on May 10th, 2019. A true and correct copy of the Complaint is

attached hereto as Exhibit A. CCI was served with Plaintiffs’ Complaint July 18, 2019. (Exhibit

B, Sate Court Docket).



                          III. NOTICE OF REMOVAL IS TIMELY

       2.      This Notice is filed within one year of the commencement of this action.

       3.      CCI files this Notice within 30 days of service of Plaintiff’s Complaint on July 18,

2019. Thus, Notice of Removal is timely under 28 U.S.C. § 1446(b)(1).



             IV. THIS COURT HAS FEDERAL QUESTION JURISDICTION

       4.      Because this action involves substantial federal issues foundational to the

complaint, the district court should have original jurisdiction. (28 U.S.C. § 1331). See Franchise

Tax Board v. Construction Laborers Vacation Trust, 463 U. S. 1 (1983). To begin with, Plaintiff’s

First Cause of Action, arises, she alleges, from the Fair Labor Standards Act (Exhibit A, ¶ 3.2 and

see 29 U.S. Code § 216(b). The Second Cause of Action also cites to federal law, albeit generally,

by alleging that the unlawful deductions were “in violation of state and federal law.” Here, both

causes of action have a basis in federal law; however, even if only one cause of action presents an

independent and independently sufficient claim for relief, then whether that claim “arises under”

federal law within the meaning of §1331 must be determined without reference to any other claims.

See Mine Workers v. Gibbs, 383 U. S. 715 (1966).




NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT—2
           Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 3 of 22



          5.      This court also has jurisdiction because the Plaintiff’s claims are contract-based,

and the contract specifies that any claims arising under the contract should be tried in federal or

state court within Ada County. For example, in ¶ 4.4 of the Complaint, the Plaintiff alleges that

“[a]ny deductions from paychecks based upon a perceived violation of a noncompete agreement

is a violation of state law regarding lawful payroll deductions.”

          That noncompete agreement between the Plaintiff and Defendant is attached as Exhibit D

and specify that claims should be tried in Ada County. Paragraph 4.3 states as follows:

        Governing Law; Jurisdiction; Venue; Attorney Fees. This agreement shall be governed
by the laws of the State of Idaho, without regard to its conflict-of-laws rules. The parties consent
to the exclusive jurisdiction and venue of the federal and state courts located in Ada County, Idaho,
for the litigation of any disputes arising under or related to this Agreement. In any such litigation,
the prevailing party shall be entitled to receive its reasonable attorney fees and costs of court from
the other party.

          Because those contract terms specify that any claims related to the non-compete agreement

               shall be adjudicated in Ada County, this court has the jurisdiction to adjudicate these

claims.

                               V. PROCEDURAL COMPLIANCE

          6.     In accordance with 28 U.S.C. § 1446(a), attached as exhibits hereto are:

EXHIBIT A: Class Action Complaint

EXHIBIT B: State Court Docket (Affidavit of Service Date included)

EXHIBIT C: State Court Notice: Notice of the filing of this Notice of Removal is being served

on Plaintiffs’ counsels of record, and a copy of this Notice of Removal will be promptly filed with

the Clerk of the District Court of Kootenai County, Idaho. See 28 U.S.C. § 1446(d).




NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT—3
            Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 4 of 22



                                      VI. CONCLUSION

       Because a substantial federal question exists and the contract-based claims specify that

claims be adjudicated in courts in Ada County, this court has jurisdiction over this action.

Therefore, CCI gives notice that the matter be removed to the U.S. District Court for the District

of Idaho.




DATED THIS 1st day of August, 2019.




                                                    /s/ Dennis M. Charney
                                                     DENNIS M. CHARNEY
                                                     Attorney for Defendant
                                                    Community Connections Incorporated




NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT—4
        Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 5 of 22




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 1st day of August 2019, I filed the foregoing document
electronically through the CM/ECF system, which caused the following parties or counsel to be
notified electronically, as more fully reflected in the Notice of Electronic Filing:



       Kammi Mencke Smith, Attorney for the Plaintiff
       kms@winstoncashatt.com



                                   _______/s/ Dennis M. Charney_______________
                                   Dennis M. Charney
                                   Attorney for Defendant




NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT—5
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 6 of 22




                                                    EXHIBIT A
                                                               Electronically Filed
            Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page  7 of 2:22
                                                               5/10/2019  22 PM
                                                                                 First Judicial District, Kootenai County
                                                                                 Jim Brannon, Clerk of the Court
                                                                                 By: Katherine Hayden, Deputy Clerk




 1

 2
     WINSTON & CASHATT, LAWYERS
 3   KAMMI MENCKE SMITH, ISB No. 7834
     250 Northwest Boulevard, Suite 206
 4   Coeur d'Alene, Idaho 83814
     Phone: (509) 838-6131
 5   Facsimile: (509) 838-1416
     kms@winstoncashatt.com
 6   Attorneys for Plaintiff
 7

 8
             IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE STATE
 9
                    OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI
10

11   DORINDA J. THOMPSON, on behalf of
     herself and all others similarly situated,
12                                                        No. CV28-19-3531
                                             Plaintiff,
13                                                        CLASS ACTION COMPLAINT
            vs.
14                                                        FEE CATEGORY: A.A.
     COMMUNITY CONNECTIONS                                FEE: $221.00
15   INCORPORATED, an Idaho corporation,
16                                         Defendant.
17
            Plaintiff Dorinda J. Thompson, by and through her attorney of record, Kammi Mencke
18

19   Smith and Winston & Cashatt, Lawyers, alleges as follows:

20                                I. PARTIES, JURISDICTION AND VENUE

21          1.1     Plaintiff Dorinda J. Thompson is, and at all times relevant hereto was, a resident

22   of Kootenai County, Idaho.

23

24
      CLASS ACTION COMPLAINT
      Page 1

                                   Mitchell, John T.
             Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 8 of 22




 1           1.2     Defendant Community Connections Incorporated (CCI), is an Idaho corporation

 2   conducting business in multiple counties in Idaho, including Kootenai County.

 3           1.3     Jurisdiction is proper pursuant to Idaho Code § 514-(a) as defendant transacts
 4   business within the state of Idaho.
 5
             1.4     Venue is proper pursuant to Idaho Code § 5-404 as the parties reside in, and
 6
     engage in business in, Kootenai County, Idaho.
 7
                                                    II. FACTS
 8
             2.1     Defendant operates residential treatment facilities and serves as a service
 9
     coordination agency specializing in advocacy for children and adults with developmental
10
     disabilities.
11
             2.2     Plaintiff began working for defendant in approximately April of 2018 and was
12

13   given the title "Life Coach".

14           2.3     Plaintiff was a valued employee of defendant in a residential facility located in

15   Hayden, Idaho.

16           2.4     Plaintiff regularly worked more than 40 hours in a workweek.

17           2.5     During Plaintiff's employment, she had unauthorized deductions from her

18   paycheck for, without limitation, training fees and recapture fees during her employment and at
19   the conclusion of her employment.
20
             2.6     Plaintiff stopped working for CCI on February 28, 2019.
21
             2.7     Plaintiff was provided her final paycheck by CCI on March 1, 2019.
22
             2.8     Plaintiff's final paycheck failed to provide her with mileage and overtime.
23

24
      CLASS ACTION COMPLAINT
      Page 2
             Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 9 of 22




 1          2.9      Plaintiff provided proper notice of her wage complaints to the employer during

 2   her employment and again in March 2019.

 3
                              III. FIRST CAUSE OF ACTION:
 4                      WRONGFUL CALCULATION OF OVERTIME PAY
 5
            3.1      Plaintiff incorporates the preceding paragraphs as if set forth herein.
 6
            3.2      Under the Fair Labor Standards Act, overtime at a rate of 1.5 times the regular
 7
     rate of pay shall be paid for all hours worked over 40 hours in a work week.
 8
            3.3      CCI failed to pay its employees overtime at a rate using the weighted regular
 9
     rates of pay.
10
            3.4      CCI's employee handbook indicates that "where an employee in a single
11
     workweek works at two or more different type of works/rates, his regular rate for that week is
12

13   the average of such rates."

14          3.5      CCI's failure to pay this statutorily required weighted average of different rates

15   of pay, resulted in employees being paid less than statutorily required.

16                             IV. SECOND CAUSE OF ACTION:
                          UNAUTHORIZED DEDUCTIONS FROM WAGES
17
            4.1      Plaintiff incorporates the preceding paragraphs as if set forth herein.
18
            4.2      CCI's Payroll Deduction Authorization & Recapture Agreement sets forth the
19
     payroll deductions that will be taken for training and recapture fees.
20

21          4.3      CCI took additional deductions from employees' paychecks than those

22   authorized by this Agreement and in violation of Idaho State Law.

23

24
      CLASS ACTION COMPLAINT
      Page 3
            Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 10 of 22




 1          4.4     Any deductions from paychecks based upon a perceived violation of a non-

 2   compete agreement is a violation of state law regarding lawful payroll deductions.

 3          4.5     Unlawful deductions from employees' paychecks resulted in employees not
 4   being paid for all hours worked, in violation of state and federal law.
 5
                           VI. REQUEST FOR CLASS ACTION STATUS
 6
            5.1     Plaintiff seeks certification of this action as a class action representing the
 7
     interests of all hourly non-exempt employees of CCI.
 8
            5.2     Upon information and belief, the class includes more than 100 current and
 9
     former employees of CCI.
10
            5.3     The claims of the Plaintiff are typical of the claims of other hourly employees
11
     who were not paid the appropriate overtime rate, and who had wrongful withholdings from
12

13   their wages.

14          5.4     Plaintiff will fairly and adequately protect the interests of the class by seeking a

15   declaration as to proper sharing of Common Expenses under the Declaration.

16          5.5     The prosecution of separate actions in this matter would create a risk of

17   inconsistent or varying adjudications with respect to individual members of the class which

18   would establish incompatible standards of conduct for the party opposing the class.
19          5.6     Moreover, the adjudication with respect to the Plaintiff would as a practical
20
     matter be dispositive of the interests of the other members not parties to the adjudications.
21

22

23

24
      CLASS ACTION COMPLAINT
      Page 4
            Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 11 of 22




 1           5.7       Defendant has acted or refused to act on grounds applicable to all the class

 2   members, thereby making appropriate final injunction relief or corresponding declaratory relief

 3   with respect to the class as a whole.
 4           5.8       This Court will find that the questions of law or fact common to the members of
 5
     the class predominate over the question affecting only individual members and that a class
 6
     action is superior to other available methods for the fair and efficient adjudication of the
 7
     controversy.
 8
             5.9       Plaintiff is entitled to an order determining that this action may be maintained as
 9
     a class action.
10
                                             VI. PRAYER FOR RELIEF
11
             Plaintiff respectfully requests that the following relief be granted:
12

13           6.1       Entry of an order that the class action may be maintained.

14           6.2       An award of damages in an amount to be proven at trial.

15           6.3       An award of exemplary damages as allowed by state and federal law.

16           6.4       An award of reasonable attorney's fees and costs as allowable by state and

17   federal law.

18           6.5       All other further relief which the court deems just and equitable.
19                     DATED this 7th day of May, 2019.
20
                                                     /s/ Kammi Mencke Smith
21                                                   KAMMI MENCKE SMITH, ISB No. 7834
                                                     Winston & Cashatt, Lawyers
22                                                   Attorneys for Plaintiff

23

24
      CLASS ACTION COMPLAINT
      Page 5
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 12 of 22




                                                     EXHIBIT B
8/1/2019                Case 2:19-cv-00300-CWD Document 1Details
                                                             Filed 08/01/19 Page 13 of 22




              Case Information

              CV28-19-3531 | Dorinda Thompson Plaintiﬀ, vs. Community Connections Incorporated Defendant.

              Case Number                                 Court                                    Judicial Oﬃcer
              CV28-19-3531                                Kootenai County District Court           Mitchell, John T.
              File Date                                   Case Type                                Case Status
              05/10/2019                                  AA- All Initial District Court Filings   Active - Pending
                                                          (Not E, F, and H1)




              Party

              Plaintiﬀ                                                                             Active Attorneys
              Thompson, Dorinda J                                                                  Lead Attorney
              DOB                                                                                  Smith, Kammi Mencke
                                                                                                   Retained
              XX/XX/1992




              Defendant
              Community Connections Incorporated




              Events and Hearings


                 05/10/2019 Initiating Document - District


                 05/10/2019 Complaint Filed

https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=0                                                          1/2
8/1/2019                Case 2:19-cv-00300-CWD Document 1Details
                                                             Filed 08/01/19 Page 14 of 22
                    Comment
                    Class Action


                 05/10/2019 Summons Issued


                 05/10/2019 Civil Case Information Sheet


                 07/18/2019 Declaration


                    Comment
                    of Service-07/08/2019 TS obo Community Connect.




              Financial

              Thompson, Dorinda J
                     Total Financial Assessment                                                                 $221.00
                     Total Payments and Credits                                                                 $221.00


               5/16/2019        Transaction                                                                    $221.00
                                Assessment

               5/16/2019        EFile Payment                     Receipt # 18044-2019-   Thompson, Dorinda   ($221.00)
                                                                  R28                     J




https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=0                                                           2/2
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 15 of 22




                                                     EXHIBIT C
         Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 16 of 22



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  Ten Sleep, WY
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  Email: dennischarney@gmail.com

  Attorney for Defendant Community Connections Incorporated


          IN THE DISTRICT COURT OF THE FIRST JUDICIAL DISTRICT OF THE
                STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI



   DORINDA J. THOMPSON, on behalf of
   herself and all others similarly situated,              Case No. CV28-19-3531

                                           Plaintiff,      NOTICE OF REMOVAL
                                                           TO FEDERAL COURT
   v.

   COMMUNITY CONNECTIONS
   INCORPORATED, an Idaho Corporation,

                                         Defendant.


TO: THE CLERK OF THE DISTRICT COURT OF THE FIFTH JUDICIAL DISTRICT OF THE

STATE OF IDAHO, IN AND FOR THE COUNTY OF KOOTENAI



        PLEASE TAKE NOTICE that the above-entitled action has been removed to the United

States District Court for the District of Idaho. A copy of the Notice of Removal, with Certificate

of Service to Plaintiffs’ attorneys is attached.

DATED THIS 2nd day of August, 2019.


                                                        _____/s/_____________________________
                                                         DENNIS M. CHARNEY
                                                        Attorney for Defendant
                                                        Community Connections Incorporated


NOTICE OF REMOVAL TO FEDERAL COURT—1
        Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 17 of 22



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 2nd day of August 2019, I filed the foregoing document
electronically through the CM/ECF system, which caused the following parties or counsel to be
notified electronically, as more fully reflected in the Notice of Electronic Filing:



       Kammi Mencke Smith, Attorney for the Plaintiff
       kms@winstoncashatt.com



                                   _______/s/ Dennis M. Charney_______________
                                   Dennis M. Charney
                                   Attorney for Defendant




NOTICE OF REMOVAL TO FEDERAL COURT—2
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 18 of 22




                                                     EXHIBIT D
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 19 of 22
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 20 of 22
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 21 of 22
Case 2:19-cv-00300-CWD Document 1 Filed 08/01/19 Page 22 of 22
